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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION



    IN RE BROILER CHICKEN ANTITRUST                             Case No. 1:16-cv-08637
    LITIGATION
                                                                The Honorable Thomas M. Durkin
    This Document Relates To:
    Four New Actions Only


                  CERTAIN DEFENDANTS’ 1 MOTION TO EXCLUDE
          BID-RIGGING CLAIMS FROM THE IN RE BROILERS CONSOLIDATED
                               PROCEEDINGS

          Pursuant to Federal Rules of Civil Procedure 16, 21, and 42, defendants in the above-

captioned cases, 2 hereby move to exclude bid-rigging claims in (1) Boston Market Corp., v. Tyson

Foods, Inc. et al., No. 1:20-cv-3450 (N.D. Ill. filed June 12, 2020); (2) Barbeque Integrated, Inc.

v. Tyson Foods, Inc. et al., No. 1:20-cv-3454 (N.D. Ill. filed June 12, 2020); (3) FIC Restaurants,

Inc. v. Tyson Foods, Inc. et al., No. 1:20-cv-3458 (N.D. Ill. filed June 12, 2020); and (4) The

Johnny Rockets Group, Inc. v. Tyson Foods, Inc., et al., No. 1:20-cv-3459 (N.D. Ill. filed June 12,

2020) (collectively, the “New DAP Complaints”) from the In re Broiler Chicken Antitrust

Litigation consolidated proceedings. Under its authority and broad discretion to manage this case,

this Court should exclude the new bid-rigging claim brought by the New DAPs—as well as any

similar bid-rigging claims other plaintiffs may attempt to pursue—from the consolidated discovery

and case management procedures governing the existing In re Broilers matters.




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      Defendants include Agri Stats, Inc., Amick Farms, Case Farms, Foster Farms, George’s, Harrison Poultry, House
      of Raeford Farms, Koch Foods, Mar-Jac Poultry, Mountaire Farms, O.K. Foods, Pilgrim’s Pride Corporation,
      Perdue, Sanderson Farms, Simmons Foods, Tyson, and Wayne Farms.
2
      See supra note 1.

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       Defendants seek to exclude bid-rigging claims in the New DAP Complaints from the In re

Broilers consolidated proceedings for the reasons set forth in the Memorandum of Law in Support

of Certain Defendants’ Motion to Exclude Bid-Rigging Claims From the In re Broilers

Consolidated Proceedings, filed contemporaneously with this Motion. Specifically, the New

DAPs and all plaintiffs attempt to insert into Broilers litigation the “Small Bird” bid-rigging claim,

which is separate and distinct from the longstanding supply-reduction and Georgia Dock claims.

Excluding this new bid-rigging claim would avoid significant case management issues and unfair

prejudice to defendants, while not resulting in prejudice to plaintiffs. Defendants respectfully ask

that the Court not allow the New DAPs to bring the “Small Bird” bid-rigging claim into this case.




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Dated: July 2, 2020                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2020, a true and correct copy of the foregoing document

was electronically filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.


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